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                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF RHODE ISLAND




   JOHN DOE,

                Plaintiff,

   vs.


   BROWN UNIVERSITY, in Providence in the                       Civil Action No. 17-cv-191(JJM-LDA)
   State of Rhode Island and Providence
   Plantations

   Defendant.




   PLAINTIFF’S OPPOSITION TO BROWN’S MOTION TO REQUIRE PLAINTIFF TO
                     PROCEED UNDER HIS REAL NAME


         Plaintiff John Doe, through his attorneys, Susan Kaplan and Sonja L. Dayoe, respectfully

  submit this memorandum of law in opposition to Defendant Brown University’s Motion to

  Require Plaintiff to Proceed under His Real Name.

                                      NATURE OF THE CASE

         Plaintiff John Doe initiated this action, inter alia, to salvage his reputation after being

  wrongly accused of two Title IX violations. In his Second Amended Complaint (ECF No. 21,

  the “SAC”), Plaintiff alleged that the first Title IX incident (“T91”) occurred when Jane Doe

  sexually assaulted him during an encounter that turned abruptly violent and sadomasochistic.

  Jane asphyxiated John, pushed him against a wall and held him there demanding that he obey her

  rules. She bit his lip so hard it bled. Afterwards, it was Jane who accused John of assaulting her.


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  Although, John informed Brown that Jane sexually assaulted him, Brown did not bring a claim

  against Jane, despite its mandate to investigate any Title IX violation it knew or reasonably

  should have known about. See The Department of Education’s Dear Colleague Letter dated April

  4, 2011, p. 4, https://www2.ed.gov/print/about/offices/list/ocr/letters/colleague-201104.html .

          Instead, John was found responsible for nonconsensual contact and underage drinking

  and was sanctioned with a deferred suspension. In the spring 2014 semester, Jane, who had

  worked closely with Brown on campus-rape advocacy, reported to Brown’s Title IX office that

  she had uncovered a new victim of John’s—Sally Roe. However, Sally was a reluctant victim,

  and Brown intervened itself as the complainant (“T92”). John was placed on interim suspension,

  which forced him to separate from campus and fail two final exams.

          Brown decided to not move forward with T92 in August 2014, but the matter remained

  pending as Brown kept open the option “to proceed at a later time,” should “additional

  information relevant to the matter” arise.1 See Ex. 1 to John Doe’s Declaration. John returned to

  campus for the fall 2014 semester severely depressed from T91 and T92 and attempted suicide

  by jumping in front of a moving vehicle. This incident led to psychiatric treatment and

  hospitalization. John was on medical leave for his entire sophomore year and returned to Brown

  for the 2015-2016 academic year, though his initial application for readmission was rejected.



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     In its present motion, Brown misrepresents John’s status as follows: Brown asserts that, “[w]hile Brown’s motion
  to dismiss the second amended complaint was under advisement, Plaintiff graduated from the University in May
  2018 with no disciplinary matters pending against him” . . . . The ‘Title IX 2 matter’ ended in August 2014 with
  Brown closing its investigation in Plaintiff’s favor without imposing any charges against him [emphasis added].
  Defendant MOL, p. 2 and 16. T92 was never closed during John’s matriculation at Brown. As such, T92 remained
  a threat until John graduated and to the extent that Brown maintains jurisdiction over Plaintiff, which will be
  determined through discovery, could still be reopened. Thus far, Brown has made no finding in Plaintiff’s favor in
  T92. Brown also wrongly asserts that “the so-called ‘Title IX 1 matter’ resolved in February 2014 with Plaintiff’s
  placement on a one-year deferred suspension. His deferred suspension expired one-year later without any
  permanent disciplinary consequences.” Defendant MOL p. 16. Regardless, long after his deferred suspension
  expired, during the spring 2016 semester, John was put under a new, unilateral and more stringent no contact order
  (“NCO”), ostensibly for Jane’s protection.


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  During that academic year, Jane Doe returned from a study program off campus and though both

  he and Jane had previously been subject to a mutual no contact order, nearly two years after his

  incident with Jane, Plaintiff was put under a unilateral no contact order (“NCO”) that required

  him to exit any situation in which Jane appeared (See Ex. 2 to Doe’s Declaration).

          Despite John’s history at Brown, Defendant wrongly asserts this “[t]his is purely a lawsuit

  by a Brown alumnus seeking to collect money damages from his alma mater--nothing else.”

  Defendant MOL p. 3. This is false. Plaintiff is in fact seeking “[a]n expungement of all records

  in John’s academic file in connection with Title IX 1 and Title IX 2.” See SAC, p. 66, ¶ v.

                                      PROCEDURAL BACKGROUND

          Prior to filing his SAC, Plaintiff moved this Court to proceed under a pseudonym

  (“Plaintiff’s Pseudonym Motion,” ECF No. 16) and argued that “[i]n light of the sensitive and

  highly personal nature of the factual averments contained in the Complaint, plaintiff is justifiably

  concerned that disclosure of his identity and the identities of the other individuals will unduly

  embarrass and hamper the individual’s future educational and career aspirations.” As such,

  Plaintiff sought pseudonyms for “all students or graduates of Defendant, Brown University, as

  well as the coach of Plaintiff’s athletic team at Brown, whose identity, if known, would lead to the

  identification of Plaintiff . . . [t]hus, said individuals would be forced to endure further damages

  beyond those already inflicted [emphasis added].”2 Defendant did not oppose the motion and at a




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     Conversely, if Plaintiff’s identity were revealed, such information could lead to the identity of other students,
  particularly Jane Doe and Sally Roe. See Doe v Trustees of Dartmouth Coll., 2018 DNH 088 *13-18 [2018](Holding
  that “the reasonable concern of both plaintiff and Sally Smith that they will be subjected to harassment and
  reputational damage absent anonymity, regardless of the outcome of this litigation—outweigh the public interest
  favoring public identification and open proceedings). See also Doe v. Yale, Fed. Dist. Ct. Connecticut,
  16cv1380(AWT), unpublished Ruling on Pending Motions, ECF No. 10, p. 9 (Ex. 1 attached to Attorney Kaplan’s
  Affidavit).


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  hearing on December 11, 2017, the Court granted Plaintiff’s Motion. John graduated from Brown

  a year after his class in May 2018.

          On or about September 7, 2018, Defendant filed its Rule 16 Statement (ECF No. 33) in

   which Defendant represented that “as this case moves forward, Brown reserves its right to

   challenge whether Plaintiff should be permitted to continue to litigate under a John Doe

   pseudonym. Particularly, if this case reaches trial, the Federal Rules of Civil Procedure

   expect that the trial will be an open and public proceeding with a litigant appearing under his

   actual name . . . [emphasis added]”.

          On or about September 25, 2018, the parties exchanged Rule 26 Initial Disclosures

   (Attached as Ex. 2 to the Kaplan Affidavit, under seal) in which Plaintiff identified witnesses

   including himself and three other family members, mental health and medical practitioners in

   connection with Plaintiff’s emotional distress and suicide attempt; current or former Brown

   faculty, administration and students (all of whom are presumed to have graduated) (the

   “Brown Witnesses”). With respect to the students, all had a direct role in T91, T92, with the

   exception of Plaintiff’s fraternity brothers, also graduates of Brown, who are all male and

   African American and have information concerning the extent to which “Brown’s race and

   gender discrimination affected Plaintiff’s emotional distress (the “Fraternity Brothers”).

          On or about October 9, 2018, the parties exchanged their first requests for information.

   Depositions have yet to be noticed, and none have been taken.




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                                            ARGUMENT

  I.      Permitting Plaintiff to Proceed Under A Fictitious Name Has Already Been Decided
          and is Law of the Case

          This issue of whether Plaintiff may proceed under a pseudonym in this action was

  decided when the Court granted Plaintiff’s initial Pseudonym motion. When it comes to the use

  of pseudonyms, the Court may reconsider that decision. See Doe v Sanderson, 2017 US Dist

  LEXIS 63913, at *4 [D Mass Apr. 27, 2017, Civil Action No. 16-cv-12068-IT]. (Upon granting

  Plaintiff’s Motion to Proceed under a Pseudonym holding that “[t]he grant of this motion is

  subject to future reconsideration of the issue upon motion of any party or by the court sua

  sponte”). However, “[t]he granting of a motion for reconsideration is ‘an extraordinary remedy

  which should be used sparingly[;]’ to succeed, a motion for reconsideration may only be granted

  if the original judgment evidenced a manifest error of law, if there is newly discovered evidence,

  or in certain other narrow situations.” Palmer v. Champion Mortg, 465 F.3d 24, 30 (1st Cir.

  2006); see also Global NAPs, Inc. v. Verizon New Eng., Inc., 489 F.3d 13, 25 (1st Cir. 2007);

  Sonethanong v Tillerson, 2018 US Dist LEXIS 4045, at *2 [DRI Jan. 8, 2018, No. 17-093-JJM-

  LDA] (Holding that “[t]o succeed on a motion for reconsideration, ‘the movant must

  demonstrate either that newly discovered evidence (not previously available) has come to light or

  that the rendering court committed a manifest error of law’”). As will be discussed below,

  Defendant has offered no new evidence and there is no error of law. Defendant’s motion must

  be denied in its entirety.

  II.     There is No Error of Law and Defendant’s Legal Authority is Not Controlling in
          this District.

          In this Court, the criteria for granting a pseudonym is long standing and clear and focuses

  on the party’s “privacy interest” in matters that could create a “social stigma.” Pertinent to this


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  action, such stigmatizing private interests have included mental illness and sex. In Doe v Univ.

  of Rhode Is., 1993 US Dist LEXIS 19257, at *4-5, 6-7 [DRI Dec. 28, 1993, C.A. No. 93-

  0560B][internal quote not cited], the Court held that “[a] plaintiff should be permitted to proceed

  anonymously in cases where a substantial privacy interest is involved. The most compelling

  situations involve matters which are highly sensitive, such as social stigmatization, real danger of

  physical harm, or where the injury litigated against would occur as a result of the disclosure of

  the plaintiff's identity . . . Cases of this type commonly involve abortion, mental illness, personal

  safety, homosexuality, transsexuality and illegitimate or abandoned children in welfare cases.”

          Plaintiff’s Pseudonym Motion relied on Doe v. Blue Cross, 794 F. Supp. 72, 74 (D.R.I.

  1992), which holds that “[t]he common thread running through these [pseudonym] cases is the

  presence of some social stigma.” Moreover, the Blue Cross Court identified “mental illness” and

  the “right not to disclose . . . sexual histories and preferences” as issues that give rise to

  stigmatization, noting that “[m]atters of sexual identity and sexual preference are exceedingly

  personal . . .” These cases and the criteria on which they rely are not limited to Title IX cases and

  are meant to inform the scope of plaintiffs seeking anonymity in this Court. Therefore, there is

  no criteria in this court or any court that addresses, for example, whether the student-plaintiff

  graduated or not from the institute of higher learning he or she is litigating against, or if he or she

  had graduated, whether or not he or she is proud of that event. The sole criteria are private

  interests and social stigma.


          John asserts allegations of mental illness in the SAC inasmuch as, after T92, he suffered

  severe depression which compelled him to attempt suicide by jumping in front of a moving

  vehicle. John also asserted in his SAC that the sexual misconduct he was accused of is

  sadomasochism, a style of sexual activity John does not indulge in. In turn John also accused

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  Jane of performing uninvited and unwelcome sadomasochistic acts on him. Mental illness,

  suicide attempts and participation in sadomasochism each carry social stigmas. Moreover, John

  is most stigmatized by having been accused of and found responsible for (sadomasochistic)

  sexual misconduct. Stigmatization of men responsible for sexual misconduct is an idealized

  aspiration of the current “#MeToo” and “Believe the Victim” campaigns and has the intent and

  often the effect of destroying a person’s reputation and career prospects.

         Of the #MeToo movement’s extensive rhetoric concerning its advocacy and aspirations

  for affecting the future of men accused of sexual misconduct, the movement’s misandristic and

  punishing sensibility is best summed up by Amber Tamblyn, (The New York Times, Nov. 30,

  2017 https://www.nytimes.com/2017/11/30/opinion/im-not-ready-for-the-redemption-of-

  men.html) as follows:

                 We’re in the midst of a reckoning. It’s what toxic masculinity’s own medicine
                 tastes like. And people should allow the consequences to unfold, regardless of
                 how it affects those they consider to be friends. The only way to enforce seismic,
                 cultural change in the way men relate to women is to draw a line deep in the sand
                 and say: This is what we will no longer tolerate. You’re either with our bodies or
                 against our bodies. The punishment for harassment is you disappear. The
                 punishment for rape is you disappear. The punishment for masturbation in front of
                 us is you disappear. The punishment for coercion is you disappear.

         Doe v. Blue Cross remains vital law in this Court and there has been no change in law.

  Brown presents four pseudonym-plaintiff cases against Brown University (Jane Doe v. Brown,

  209 F. Supp. 3d 460 (D.R.I. 2016); John Doe v. Brown, C.A. No. 16-17-WES; John Doe v

  Brown, C.A. No. 15-144-WES; and John Smith v. Brown, C.A. No. 18-126-JJM) in support of its

  Motion. Other than the John Smith case, all of these cases address the continuance of the

  plaintiff’s pseudonym at the summary judgment stage, or when the case was trial ready, settled

  or otherwise moot. All of these cases allowed a pseudonym to protect the student’s identity in

  the face of a school disciplinary action. All of the John Doe/Smith cases are for sexual

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  misconduct (the Jane Doe case was for academic integrity, which may not carry the same degree

  of social stigma—the standard in this Court-- as sexual misconduct). None of these cases in any

  way support stripping Plaintiff of his John Doe status at this early stage in this case when

  discovery has just begun. In all, these cases do not in any way demonstrate a change of law in

  this Court, and the case law on which Plaintiff’s Pseudonym Motion relied remains controlling

  authority. See Duran v Wall, 2016 US Dist LEXIS 130734, at *10 [DRI Sep. 21, 2016, No. 15-

  13-M-LDA]. Ashcroft v. Al-Kidd, 563 U.S. 731, 746, 131 S. Ct. 2074, 179 L. Ed. 2d 1149 (2011)

  (stating the importance of controlling authority in determining whether a right was “clearly

  established”); see also Savard v. Rhode Island, 338 F.3d 23, 28 (1st Cir. 2003) (“The court must

  canvass controlling authority in its own jurisdiction and if none exists, attempt to fathom whether

  there is a consensus of persuasive authority elsewhere”).


          Regardless, Defendant also relies on the anomalous decision in Doe v Rider Univ., 2018

  US Dist LEXIS 133146 [DNJ Aug. 7, 2018, Civil Action No. 16-4882 (BRM)], which is being

  appealed to the District Court (See ECF No. 55), and Doe v Trustees of Dartmouth Coll., 2018

  DNH 088 [2018] to support its Motion. However, these cases are from other jurisdictions and

  are not controlling in this action and are therefore irrelevant to the question of whether this court

  made an error of law when it granted Plaintiff’s Pseudonym Motion. See Doe v Wesleyan Univ.,

  2015 US Dist LEXIS 157685, at *2 [D Conn Nov. 23, 2015, No. 3:14-cv-1735 (SRU)] (“The

  plaintiff cites various cases from different jurisdictions and characterizes them as ‘relevant’

  authority . . . . None of those cases is controlling . . .”).


          Moreover, neither Doe v Rider nor Doe v Dartmouth speak to Savard v. Rhode Island’s

  requirement of a “consensus of persuasive authority” as there is no consensus of persuasive



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  authority among the Circuit Courts. Indeed, to the extent that any other Circuit has its own

  “test,” they are different from one another. See Sealed Plaintiff v Sealed Defendant #1, 537 F3d

  185, 190 [2d Cir 2008]; Doe v Megless, 654 F3d 404, 409-410 [3d Cir 2011]; Doe v Porter, 370

  F3d 558, 560 [6th Cir 2004]; Does I thru XXIII v Advanced Textile Corp., 214 F3d 1058, 1068-

  1069 [9th Cir 2000]; M.M. v Zavaras, 139 F3d 798, 803 [10th Cir 1998]; Doe v Frank, 951 F2d

  320, 323 [11th Cir 1992].


         Moreover, some Circuit Courts have no test at all. See Doe v Stegall, 653 F2d 180, 185-

  186 [5th Cir 1981] (Holding that the Court has “no hard and fast formula for

  ascertaining whether a party may sue anonymously.”); Doe v Purdue Univ., 321 FRD 339, 341

  [ND Ind 2017] (Holding that “[t]he Seventh Circuit Court of Appeals has not articulated a test or

  elements for determining when exceptional circumstances exist to justify allowing a party to

  proceed under a pseudonym.”); Doe v United States, 210 F Supp 3d 1169, 1172-1173 [WD Mo

  2016] (Confirming that “[n]either the Eighth Circuit nor the Supreme Court has addressed the

  issue of when a pseudonym may be used) Others grant that the trial court’s discretion overrides

  any strict test. James v Jacobson, 6 F3d 233, 238 [4th Cir 1993] (Holding that while certain

  “guidelines” are to be considered, “[t]he decision whether to permit parties to proceed

  anonymously at trial is one of many involving management of the trial process that for obvious

  reasons are committed in the first instance to trial court discretion”).


         Accordingly, Doe v Rider and Doe v Dartmouth and the test Defendant follows in its

  Motion are irrelevant to whether this Court should reconsider its previous position granting

  Plaintiff the use of a pseudonym.




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  III.   There is No New Evidence


         As stated, discovery has just begun between the parties. No documents have been

  produced and no depositions have even been noticed. There is no new evidence since John filed

  his SAC and Brown has cited none. Brown instead argues that the “calculus has changed”

  between this Court’s grant of the use of the pseudonym in Dec. 2017 and now. Defendant’s

  MOL, p. 4. However, none of the “changes” Defendant relies on are new, some do not even

  qualify as a change, and none are relevant as discussed below.

         A. Plaintiff Graduated from Brown


             In this first instance, congratulations to Plaintiff are in order—he had a difficult time

  of it and he completed his mission. But without depositions having even occurred and without

  any evidence that should alter this Court’s standing decision, Defendant’s focus on this point is

  another irrelevancy. Defendant argues that because John continued to study and participate in

  athletics at Brown while this action was pending then “touted” himself as a Brown graduate on

  his social media, his pseudonym should be revoked in this action. This is a non-sequitur and

  baseless, and Defendant provides no authority to support this argument. There is none.

  Pseudonyms in Title IX cases are not exclusive to undergraduates and authority supports

  granting a pseudonym to a graduate of an institution the plaintiff is suing. The pseudonymous

  plaintiff in Doe v. Yale did not even commence his action until after he graduated, yet the Fed.

  Dist. Court of Connecticut granted his request to use a pseudonym, without even addressing his

  change in status from student to alumna. See Kaplan Affidavit ¶ 4.


             Brown characterizes Plaintiff ‘s attitude towards his graduation as “proud,” however,

  Brown cites no case—and none exists—that considers a Plaintiff’s sentiment towards his alma

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  mater or his graduation ceremony as a factor determining the use of a pseudonym. Regardless,

  as Plaintiff has not yet been deposed, Brown’s characterization of Plaintiff’s sentiments towards

  Brown, his motivation to attend graduation, and his feelings upon graduation are purely

  speculative. Despite all he’s been through, Plaintiff cannot identify himself as having graduated

  from any other university. The fact is that Plaintiff matriculated at Brown, earned his diploma,

  and as such, has the same rights and privileges of any other graduate to attend graduation and

  identify as a graduate as is necessary to qualify for career opportunities and graduate education.


             On a practical level, whether or not a plaintiff graduated from the institution he is

  litigating against should not determine whether or not a Plaintiff may use a pseudonym as it

  improperly attempts to exclude a graduate from litigating under a pseudonym regardless of the

  social stigmas he may face. Defendant’s argument also improperly attempts to nullify the statute

  of limitations for these actions. Given the length of time litigation takes to reach its conclusion,

  this criteria would chill otherwise legitimate claims as every senior and most juniors would be

  disqualified from being able to successfully move to use a pseudonym in this Court as they

  would graduate while the litigation remained pending. Moreover, it would disqualify students

  who choose to wait until they graduate to commence litigation (assuming the statute of

  limitations does not toll). In essence, Brown’s only-matriculated-students-but-not-graduates

  argument is a meaningless distinction that no court under any test has considered.


             In its Motion, Defendant argues that Plaintiff should use his real name, but that the

  aliases for other student-witnesses, most of whom have also graduated, should remain in place.

  This is an untenable position. As John argued in his Pseudonym Motion, “[t]he witnesses for

  whom Plaintiff seeks the pseudonym prophylactic are all students or graduates of Defendant,



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  Brown University, as well as the coach of Plaintiff’s athletic team at Brown, whose identity, if

  known, would lead to the identification of Plaintiff.” See Pseudonym Motion, ECF. No. 16, p. 1.

  Plaintiff’s argument leaves unspoken the logical counterpoint: Plaintiff’s identify, if known,

  would lead to the identification of these student (or former student) witnesses, particularly Jane

  Doe and Sally Roe, whose sexual experiences with John are explicitly detailed in the SAC. See

  Doe v. Yale, Ex. 1, Kaplan Affidavit (Noting that “identification of plaintiff may pose a risk of

  mental harm to a third party, as exposing the name of Plaintiff could inadvertently identify Jane

  Roe”).


           B. Plaintiff Publicized his case to his Fraternity Brothers; There has been Media
              Interest in the Case; and Defendant is unable to Defend Itself

           Defendant argues that Plaintiff impermissibly publicized his case to his Fraternity

  Brothers, who he cited as witnesses in his Rule 26 Initial Disclosures. In the first instance, this

  argument is premature as there has been no depositions of any party or witness and it is mere

  speculation for Brown to assert that having named these witnesses, Plaintiff jeopardized his

  anonymity status. Regardless, a pseudonym should not bar Plaintiff (nor Defendant) from

  seeking discovery and witnesses. See Doe v. De Amigos, LLC, No. 11-1755, 2012 U.S. Dist.

  LEXIS 190501, 2012 WL 13047579, at *7-8 (D.D.C. Apr. 30, 2012) (Granting plaintiff’s request

  for anonymity and holding that though “Defendant argues that plaintiff's use of a pseudonym

  would cause unfairness because defendant would be unable to adequately conduct third party

  discovery if plaintiff’s identity could not be revealed . . . defendants will not be barred from

  revealing plaintiff’s identity during discovery.”

           Brown also decries the media attention this case has received. While Brown does not

  accuse Plaintiff of publicizing his case to the media or in any way revealing any confidential



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  information to the general public, Brown does assert that it is prejudiced by not being able to

  adequately defend itself in the public sphere.

           Brown cites various media outlets that reported on the case. John has never

  communicated with the media whatsoever about this case or in any way pursued or encouraged

  the media’s interest; nor has he published anything relevant to this case. See Doe’s Declaration, ¶

  12. The media’s interest proves John’s concern about keeping his identity and by extension the

  identities of Jane and Sally confidential. Regardless, Brown argues that Plaintiff should be

  forced to proceed under his real name because it is prejudiced by Plaintiff’s anonymity and

  cannot defend itself in the court of public opinion. What the media reported is all part of the

  public record and is an exercise of the public’s right to know via access to these public court

  records. Brown’s Answer and its instant motion are part of that record as is its Motion to

  Dismiss and all include defensive arguments, thereby demonstrating that Brown is able to

  publicly defend itself without revealing John’s (or Jane’s or Sally’s) true identity. John Doe’s

  revealed identity would not change Brown’s arguments as they are not dependent on John’s

  personal status. Yep!

           To the extent that there is media and public interest in this case, it is not because of who

  John is, but because of Brown’s status and influence in the public sphere. Brown is not an

  “ordinary private party” like John whose reputation is likely to be negatively affected by this

  lawsuit for the rest of his life. Brown is an institution, a venerable one, with a renowned public

  stature. It has its own PR office and is in the news in connection with Title IX issues regardless

  of this case.3 See EW v NY Blood Ctr., 213 FRD 108, 112 [EDNY 2003] (Finding that



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    The following is a non-exhaustive and random list of the multiple articles addressing sexual assault at Brown that
  are not connected to this case:


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  Defendant’s claim “of prejudice to their reputation, is unconvincing. Defendant is not an

  ordinary private party, with interests relating solely to its personal life and business reputation—

  rather, NYBC is organized solely to perform an important, public service. Thus, this case is

  analogous to one involving a government defendant, where personal anonymity is more readily

  granted because of the existence of a public interest in the action and a lesser interest in personal

  reputation”).

           As noted in Doe’s Declaration, the disciplinary process at Brown was confidential and

  Brown cannot find a single breach of this confidentiality even while referring to media stories—

  which stories did not include interviews of John or disclosure of his real name. See Doe v.

  Dartmouth at 13.

           C. Plaintiff Is Solely Seeking Money Damages, and Plaintiff’s Transcript Bears No
              T9-Related Sanction Notation


           Defendant mischaracterizes Plaintiff’s SAC and prayer for relief as seeking only money

  damages. See, SAC, ¶ (v), p.66. Plaintiff is also seeking an expungement of his record.4 Brown




  https://www.businessinsurance.com/article/20180719/NEWS06/912322795/Rape-victim-can%E2%80%99t-sue-
  Brown-University-under-Title-IX-court-rules

  https://www.bostonglobe.com/metro/2016/11/17/lawsuit-says-brown-university-did-not-properly-investigate-
  alleged-rape-football-players/Vd6b2q39C5kuwfzYgrnG4M/story.html

  https://www.washingtonpost.com/news/grade-point/wp/2016/06/07/these-colleges-have-the-most-reports-of-
  rape/?utm_term=.547aece8cfcc

  https://www.thedailybeast.com/exclusive-brown-university-student-speaks-out-on-what-its-like-to-be-accused-of-
  rape

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    The SAC, filed while Plaintiff was still a student at Brown, also sought declarative and injunctive relief regarding
  T92. Defendant argues that John’s status as a graduate should moot his remedies for declaratory judgment and/or
  injunctive relief in connection with T92. This argument is irrelevant to Defendant’s present motion and the cases on
  which Brown relies to support it do not address pseudonyms. As such, this issue would be best considered after
  discovery fully examines Brown’s jurisdiction and statute of limitations policies for Title IX claims against students
  or former students.


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  knows this but ignores it and seems to argue instead that because if there is no T9-related

  sanction reflected on the face of John’s transcript, there is no damage to Plaintiff. In the first

  instance, the parties have not yet produced any discovery or expert discovery as of this writing

  nor have there been any depositions scheduled. Brown’s assertions are therefore purely

  speculative and it has no new evidence supporting its Motion. As such, it is unclear to Plaintiff

  the extent to which the deferred suspension in T91, the interim suspension in T92, the “open”

  Title IX investigation, the related no-contact orders, the details of his medical leave and the

  rejection of his first application to return to Brown from his medical leave are in fact reflected in

  his academic record or the extent to which they may impact his future. Moreover, transcript

  notations and academic records are not the only sources of information about a person’s sexual

  misconduct.5

           In any event, and as previously discussed, in the “#MeToo” culture, no complaint of

  sexual misconduct, not to mention a complaint of sexual misconduct that had been adjudicated in

  a school’s disciplinary process, is too trivial or too outdated to be overlooked. As such,

  ironically, if Plaintiff were to reveal his name, his SAC and this entire litigation would cause the

  very harm Plaintiff seeks to remedy. In Doe v. Yale, the plaintiff therein also did not suffer a

  transcript notation. See Kaplan Affidavit. Regardless, the court in that action recognized that the

  plaintiff’s academic record and reputation had been jeopardized and granted him the right to use

  a pseudonym. See Doe v Yale, unpublished Ruling on Pending Motions, filed Oct. 12, 2016 [ECF

  No. 10], p. 9 (Holding that “the injury litigated against, namely the harm suffered by plaintiff as

  a result of Yale’s findings on his academic record, would be incurred as a result of the disclosure



  5
    As expert discovery may proceed in this action, it may disclose that graduate and professional school applications
  routinely ask whether an applicant was a party to any disciplinary action, regardless of the outcome, and some
  applications merely ask whether a complaint was ever made against the applicant.

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  of plaintiff’s identity here; . . . plaintiff, a recent graduate of Yale, is particularly vulnerable to

  the possible harms of disclosure because if his identity were disclosed, it could further jeopardize

  his post-graduate education and employment prospects”).

          Indeed, if Plaintiff’s identity were publicly revealed along with the fact that he has been

  accused of sexual misconduct and that Brown saw fit to punish him for it, he would likely never

  live it down. Unless he moves on to particularly noteworthy accomplishments (which is a

  Catch-22), the very first internet search result of Plaintiff’s name would likely show this

  litigation for the rest of his life. And in today’s world that story will almost surely stand as an

  obstacle to any opportunities Plaintiff may otherwise come across to ever obtain such

  accomplishments.

          In any event, the lack of a transcript notation with respect to T91 and T92 has been

  known to Brown since the inception of this case and cannot be counted among the “change in

  calculus” for the purpose of compelling this Court to reconsider and revoke Plaintiff’s

  pseudonymous status. Regardless, the transcript notation or lack thereof is not the end-all of a

  haunting reputation and career-destroying Title IX back story. Given the reach and permanency

  of the circulation of information in this internet age, if John’s real name were disclosed in this

  action, his identity as an accused and sanctioned sexual miscreant, would be known, regardless

  of his “clean” transcript.

  IV.     Brown’s Instant Motion is Without Merit

          For the reasons set forth above, Brown’s instant motion is without merit. The issue was

  decided by this Court, and as set forth above, none of the facts or arguments relied upon by

  Brown change Plaintiff’s basis for use of a pseudonym. Brown’s primary purpose in bringing

  this motion at this moment appears to be improper and vexatious—to harass and/or to needlessly

  increase the cost to Plaintiff and his counsel (in both time and money).
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         While Plaintiff hesitates to attribute wrongful motives to Defendant, the

  misrepresentation or complete disregard of John’s claims—Defendant does not address

  Plaintiff’s Pseudonym Motion, the basis of reconsideration, or this Court’s standard with regard

  to privacy and social stigmas—indicates the weak merits of this present motion if not Brown’s

  bad faith. Brown wrongfully states that John’s only motive to pursue this matter is for money

  and in doing so fails to acknowledge that John is also seeking an expungement of his disciplinary

  record. Compounding this error, Brown also misrepresents John’s disciplinary record stating

  that after August 2014 Plaintiff did not face discipline, but as noted above, Brown never closed

  T92. Brown merely suspended the investigation pending more information and the threat of T92

  being reopened remained an ever-present anvil hanging over John’s education at Brown—

  indeed, it arguably continues to hang over John’s future to this day.

         Furthermore, John was placed under a new and unilateral no-contact order in spring 2016

  in connection with T91 more than two years after his first encounter with Jane and a year after

  his deferred suspension supposedly expired. The NCO too was an anvil hanging over John’s

  head that affected his access to the campus, his education and other activities in that he was

  forced to always be on the lookout for Jane. This was a particularly challenging burden given

  that Jane seemed to purposefully appear at events that were part of John’s interests and activities

  but had been heretofore unrelated to Jane’s interests and activities, as alleged in the SAC.

         Finally and most importantly, Brown did not address that John’s complaint deals with

  alleged sex acts in which he was personally involved; that the sanction against him carries a

  stigma of being cast as a sexual assaulter (he was accused of non-consensual sadomasochistic

  acts); and that this stigma had already cast a cloud over his life causing such severe depression




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  that he was compelled to attempt suicide by jumping in front of a moving vehicle, all of which

  constitute another social stigma.

         Indeed, it appears that Brown’s motive in bringing its Motion may be to persuade this

  Court to adopt the Rider test—a test that would result in the same outcome in this case. As

  shown below, when the test was applied in Doe v. Dartmouth, a case very similar to the one

  herein, the test established that the Plaintiff could proceed under the pseudonym. While the

  likelihood of success of the present Motion should be unlikely, the Court’s adoption of this test

  may eventually lead to successful motions based on such a precedent for Brown in the future.

  Given the unlikelihood that Defendant’s Motion will prevail, its motive to test the waters and

  introduce a new set of criteria under which Brown could win future “Real Name” motions is a

  waste of the Court’s time as well as Plaintiff’s resources.

         A. Applying Doe v. Rider’s Nine-Point Test in the Alternative

         Defendant’s advocacy for Doe v Rider’s nine-point test was adopted by Doe v.

  Dartmouth 2018 U.S. Dist. LEXIS 74066 (Dist. N.H. May 2, 2018). The allegations in Doe v

  Dartmouth are very similar to John’s allegations in this action and Doe v Dartmouth allowed

  plaintiff to proceed in the litigation under a pseudonym. In Doe v. Dartmouth, the plaintiff

  alleges that “he engaged in sexual contact with a female student [Sally],” whom he described “as

  the sexual aggressor, and as someone he knew to be interested in sadomasochistic sex . . .”

  However, “Sally filed a complaint against plaintiff with Dartmouth's Title IX office. She alleged

  that plaintiff had physically assaulted her during their sexual encounter.” Doe v. Dartmouth 2018

  U.S. Dist. LEXIS 74066 *2-3 (Dist. N.H. May 2, 2018). While the Dartmouth test is not

  controlling, in the alternative, Plaintiff will demonstrate below that his pseudonymous status

  would nonetheless be maintained under that test as follows:



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     1. The extent to which the identity of the litigant has been kept confidential


         As averred to in Doe’s Declaration, Plaintiff’s identity has been kept confidential and

  Defendant offers no evidence that such confidentiality has been breached. Defendant’s

  arguments based on John’s graduation and identifying five of his fraternity brothers as witnesses

  and other such issues as discussed above are irrelevant and baseless. This factor therefore

  weighs in Plaintiff’s favor.


     2. The basis upon which disclosure is feared or seeks to be avoided


         As applied by the Court in Doe v. Dartmouth, this is the social-stigma factor, and the

  Dartmouth Court cites Doe v. Blue Cross & Blue Shield of R.I., 794 F. Supp. 72, 74 (D.R.I.

  1992) to concur that “[u]ndoubtedly, ‘one’s sexual practices are among the most intimate parts of

  one’s life,’ and the public disclosure of such information may subject one to embarrassment or

  ridicule.’” Moreover, the Blue Cross Court argued that the disclosure of Plaintiff’s name would

  result in reputational damage regardless of the outcome of this case. Id. at 13-14 as follows:


         More significant in this case is plaintiff's argument that public disclosure will subject him
         to reputational damage and will impair his future educational and career prospects,
         regardless of the actual outcome of this action . . . Such a concern is only exacerbated in
         the Internet age, which can provide additional channels for harassment and will connect
         plaintiff's name to Dartmouth's findings and sanction forever, whether or not he is
         successful in this litigation . . . Thus, this is not a case where, far from damaging
         plaintiff's reputation, the litigation will afford plaintiff an opportunity to ‘clear his name
         in the community.’ [Doe v. Megless, 654 F.3d 404, 408 (3d Cir. 2011)]. Plaintiff has a
         reasonable fear that, whatever the outcome of the action, public identification will subject
         him to severe reputational harm and harassment, and will defeat the very purpose of this
         litigation.

         Defendant’s argument for this factor dismisses the weight of John’s additional social

  stigmas—mental illness and sexual history. Instead Brown speaks of Plaintiff’s undergraduate



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  status while this case was pending without acknowledging that his lack of publicity and

  discretion allowed him to complete his education without bringing publicity to himself or Brown.

  As in Dartmouth, this second factor weighs in plaintiff's favor.


      3. Whether there is a public interest in maintaining the plaintiff's anonymity


          The Court in Dartmouth interprets this factor to mean "if this litigant is forced to reveal

  his or her name, will other similarly situated litigants be deterred from litigating claims that the

  public would like to have litigated and remained neutral on this issue.” Defendant decidedly

  weights this factor against Plaintiff arguing that there is no public interest in maintaining

  Plaintiff’s anonymity because he does not have a notation on his transcript and argues that

  Plaintiff’s “deferred suspension expired one-year later without any permanent disciplinary

  consequences.” In the first instance, Defendant’s averments are, as discussed above, untrue and

  baseless and do not even address this factor.


          The public has an interest in maintaining Plaintiffs’ anonymity because the social stigma

  Plaintiff faces—disclosure of mental illness and a suicide attempt as well as his sexual history—

  will be permanently and easily accessible on the internet, win or lose. Even if Brown’s argument

  is meant in good faith that Plaintiff’s claims do not rise to the level of “infamy,” infamy is not

  the standard in this Court—social stigma is. John represents in his Declaration that he would not

  have initiated this action under his real name. The public disclosure and the reach and

  permanency of the internet would undoubtedly be a deterrent for similarly situated students.

  This factor also weighs heavily in Plaintiff’s favor.


  Whether there is an atypically weak public interest in knowing the litigant's identities given the purely
  legal nature of the issues presented or otherwise


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         The Dartmouth Court did not weigh this factor in its plaintiff’s favor arguing that because

  the case was fact-driven, reasoning that “[t]he dispute is over how Dartmouth applied its policies

  in plaintiff's case, how it came to its determination of the underlying facts, and whether the

  procedure was tainted by any bias.” Id. at 16. Yet, that argument is circular and should weigh in

  Plaintiff’s favor because the facts themselves are the source of the social stigma John would

  suffer should his real name be disclosed. Regardless, Defendant maintains an interest in

  maintaining all other student-witnesses’ anonymity as if the infamy that somehow evades

  Plaintiff, sticks like glue on everyone else. Brown can’t have it both ways. This factor must also

  weigh in Plaintiff’s favor.


     4. Whether the litigant [will] sacrifice a potentially valid claim simply to preserve [his]
        anonymity

         Dartmouth found that “[b]ecause plaintiff avers that he will not prosecute his claims if he

  must do so in his own name, this factor weighs in plaintiff’s favor.” Id. Plaintiff herein too avers

  in his Declaration that he would not have initiated this action under his real name. Doe Dec. ¶ 14.

  This factor too should weigh in Plaintiff’s favor.


     5. Whether the litigant is seeking to use a pseudonym for nefarious reasons

         As in Dartmouth, Defendant makes no such allegation against the Plaintiff herein.

   Therefore, this factor too must weigh in Plaintiff’s favor.


     6. Whether there is acknowledgement that there is a universal interest in favor of open
        judicial proceedings

         Why must the Plaintiff acknowledge this? It is a legal principle, established in the case

  law, and as an element in this test, demonstrates this test’s inclination towards score-keeping and

  bureaucracy. And why must the acknowledgement be of this principle’s universality? The

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  “interest in favor of open judicial proceedings” in the Federal Courts is unassailable. Unless, of

  course, when the plaintiff risks the social stigma of mental illness and sexual history, which is

  the exception this Court acknowledges, and is the case here. This factor must also weigh in

  Plaintiff’s favor.


      7. Whether there is a stronger public interest in knowing the litigant's identity, in light of the
         subject matter of the litigation, the status of the litigant as a public figure, or any other
         reason

          There is no such interest in this case. Despite media coverage, there was no effort by the

  media to disclose the Plaintiff’s identity; and since Plaintiff is not at all a public figure, there

  should be little if any interest in disclosing his true identity. As the Court in Dartmouth noted,

  “[n]one of the relevant actors in this litigation is a public figure . . . This factor does not favor

  disclosure,” as it must not here. Id. at 17-18.


      8. Whether any opposition to the use of a pseudonym is illegitimately motivated

          As discussed above, Defendant’s Motion is meritless and its motives to assert it—even if

  viewed charitably—are questionable at best. This factor therefore should weigh in Plaintiff’s

  favor as well.


          Nine out of nine for Plaintiff. To quote Defendant, this is “not a close call.” Defendant’s

  MOL, p. 18. On that we can agree.




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                                           CONCLUSION
         For the reasons set forth above, we respectfully request that the Court: 1) deny Defendant

  Brown University’s Motion; 2) award reasonable attorneys’ fees and costs to The Kaplan Law

  Office for its work in connection with the instant motion; and 3) such further relief as the Court

  deems just and reasonable.

  DATED:         November 8, 2018
                                                Respectfully Submitted,

                                                THE PLAINTIFF,

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                                CERTIFICATION OF SERVICE

         I hereby certify that on this 8th day of November, 2018, a copy of the foregoing and

  accompanying papers was filed via the Court’s ECF and served on all parties.



                                              By:     /s/ Sonja L. Dey




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